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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 19, 2022
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
                                                  §
         In re:                                                           Chapter 11
                                                  §
                                                  §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                             Case No. 19-34054-sgj11
                                                  §
                                                  §
                              Reorganized Debtor.
                                                  §
         UBS SECURITIES LLC AND UBS AG LONDON §
         BRANCH,                                  §
                                                  §                       Adversary Proceeding
                              Plaintiffs,         §
                                                  §                       No. 21-03020-sgj
         vs.                                      §
                                                  §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,       §
                                                  §
                                         Defendant.

            ORDER AND JUDGMENT GRANTING UBS’S REQUEST FOR A PERMANENT
               INJUNCTION AGAINST HIGHLAND CAPITAL MANAGEMENT, L.P.




     1
       The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
     service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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           This matter having come before the Court on Highland Capital Management, L.P.’s

Motion to Withdraw Its Answer and Consent to Judgment for Permanent Injunctive Relief [Docket

No. 169] (the “Motion”) filed by Highland Capital Management, L.P. (“Highland”), the defendant

in the above-captioned adversary proceeding (the “Adversary Proceeding”) and the reorganized

debtor in the above-captioned chapter 11 case (the “Bankruptcy Case”); and this Court having

considered (a) the Motion and (b) the Declaration of James P. Seery, Jr. in Support of Highland

Capital Management, L.P.’s Motion to Withdraw Its Answer and Consent to Judgment for the

Permanent Injunctive Relief Sought by Plaintiff (the “Seery Declaration” and together with the

Motion, “Highland’s Papers”), 2 (c) the evidence presented at the August 8, 2022 hearing on the

Motion, and (d) all prior proceedings relating to the Adversary Proceeding; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that

venue of this proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that injunctive relief is warranted under sections 105(a) and

362(a) of the Bankruptcy Code; and this Court having found that Highland’s notice of the Motion

and opportunity for a hearing on the Motion were appropriate and that no other notice need be

provided; and this Court having considered the evidence presented on August 8, 2022, and in

consideration of that evidence, the Court having found that the legal and factual bases presented

establish good cause for the relief granted herein, and that (1) such relief is necessary to avoid

immediate and irreparable harm to UBS Securities LLC and UBS AG London Branch (together,

“UBS”), (2) UBS will succeed on the merits of its underlying claim for injunctive relief, (3) the

injury to UBS outweighs any damages that the injunction will cause Highland, and (4) such relief



2
    Capitalized terms not otherwise defined in this Order shall have the meanings ascribed to them in Highland’s Papers.
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serves the public interest; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, and for the reasons set forth in the record on

this Motion, it is HEREBY ORDERED THAT:

       1.      The Motion is GRANTED IN PART as set forth herein.

       2.      Highland’s Answer to Complaint [Docket No. 84] is deemed WITHDRAWN.

       3.      Subject to any further order of this Court, Highland is hereby permanently

ENJOINED AND RESTRAINED from making or allowing funds under its control (including,

but not limited to, Multi-Strat or CDO Fund) to make any payments or further transfers to the

Sentinel Entities (or any entities known by Highland to be transferees of the Sentinel Entities)

consisting of, resulting from, or relating to the Transferred Assets pending (i) a decision of a court

of competent jurisdiction as to whether the Transferred Assets were fraudulently transferred to or

for the benefit of Sentinel, Dondero, Ellington, and/or any of their affiliates or as part of a

fraudulent scheme, or (ii) an agreement between Highland and UBS as to the disposition of the

Transferred Assets.

       4.      This Order shall remain in effect unless otherwise ordered by the Court.

       5.      All objections to the Motion are overruled in their entirety.

       6.      The Court shall retain exclusive jurisdiction with respect to all matters arising from

or relating to the implementation, interpretation, and enforcement of this Order.


                                    ### END OF ORDER ###
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
UBS Securities LLC,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03020-sgj
Highland Capital Management, L.P.,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 23, 2022                                               Form ID: pdf001                                                            Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 25, 2022:
Recip ID                   Recipient Name and Address
aty                    +   Jamie Wine, LATHAM & WATKINS LLP, 885 Third Ave., New York, NY 10022-4874
aty                    +   Jason R. Burt, 555 Eleventh Street, NW, Suite 1000, Washington, D. 20004-1327
aty                    +   Jeffrey E. Bjork, Latham & Watkins LLP, 355 S. Grand Ave., Ste. 100, Los Angeles, CA 90071-3104
aty                    +   Katherine George, LATHAM & WATKINS LLP, 330 North Wabash Avenue, Ste. 2800, Chicago, IL 60611-3695
aty                    +   Sarah Tomkowiak, Latham & Watkins LLP, 555 Eleventh Street, NW, Suite 1000, Washington, DC 20004-1359
aty                    +   Zachary F. Proulx, LATHAM & WATKINS LLP, 1271 Avenue of the Americas, New York, NY 10020-1300

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Aug 23 2022 21:12:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996
ust                    + Email/Text: ustpregion07.au.ecf@usdoj.gov
                                                                                        Aug 23 2022 21:12:00      United States Trustee - AU12, United States
                                                                                                                  Trustee, 903 San Jacinto Blvd, Suite 230, Austin,
                                                                                                                  TX 78701-2450

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 25, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 23, 2022 at the address(es) listed
below:
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District/off: 0539-3                                        User: admin                                                           Page 2 of 2
Date Rcvd: Aug 23, 2022                                     Form ID: pdf001                                                      Total Noticed: 8
Name                      Email Address
Andrew Clubok
                          on behalf of Plaintiff UBS Securities LLC andrew.clubok@lw.com
                          andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
                          on behalf of Plaintiff UBS AG London Branch andrew.clubok@lw.com
                          andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Candice Marie Carson
                          on behalf of Plaintiff UBS AG London Branch Candice.Carson@butlersnow.com

Candice Marie Carson
                          on behalf of Plaintiff UBS Securities LLC Candice.Carson@butlersnow.com

Clay M. Taylor
                          on behalf of Interested Party James Dondero clay.taylor@bondsellis.com krista.hillman@bondsellis.com

Eric A. Soderlund
                          on behalf of Interested Party Former Employees eric.soderlund@judithwross.com

Frances Anne Smith
                          on behalf of Interested Party Former Employees frances.smith@judithwross.com michael.coulombe@judithwross.com

Juliana Hoffman
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Kimberly A. Posin
                          on behalf of Plaintiff UBS AG London Branch kim.posin@lw.com colleen.rico@lw.com

Kimberly A. Posin
                          on behalf of Plaintiff UBS Securities LLC kim.posin@lw.com colleen.rico@lw.com

Martin A. Sosland
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                          ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Martin A. Sosland
                          on behalf of Plaintiff UBS AG London Branch martin.sosland@butlersnow.com
                          ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Matthew A. Clemente
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                          matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                          ey@sidley.com

Melissa S. Hayward
                          on behalf of Defendant Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Paige Holden Montgomery
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                          ce@sidley.com

Thomas C. Scannell
                          on behalf of Interested Party Sentinel Reinsurance Ltd. tscannell@foley.com
                          acordero@foley.com;thomas-scannell-3441@ecf.pacerpro.com

Zachery Z. Annable
                          on behalf of Defendant Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 17
